   Case 2:10-md-02179-CJB-DPC Document 4820-2 Filed 12/06/11 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig              *       MDL No. 2179
       “Deepwater Horizon”                   *
       in the Gulf of Mexico,                *       SECTION: J
       on April 20, 2010                     *
                                             *       JUDGE BARBIER
This Document Relates to:                    *
Case No. 2:10-cv-04536                       *       MAGISTRATE SHUSHAN
                                             *

   PLAINTIFF UNITED STATES’ SECOND MOTION FOR PARTIAL SUMMARY
 JUDGMENT AS TO THE LIABILITY OF BP EXPLORATION AND PRODUCTION,
 INC., THE TRANSOCEAN DEFENDANTS, AND THE ANADARKO DEFENDANTS

       Plaintiff United States hereby moves pursuant to Fed. R. Civ. P. 56 for partial summary

judgment as to the liability of the Defendants as to the Liability of BP Exploration and

Production, Inc. (“BP”); Transocean Deepwater Inc., Transocean Offshore Deepwater Drilling

Inc., Transocean Holdings LLC, and Triton Asset Leasing GmbH (collectively, “the Transocean

Defendants”); and Anadarko Petroleum Corporation (“APC”) and Anadarko E&P Company LP

(“A E&P) (collectively, “the Anadarko Defendants”).


       As demonstrated in the attached Memorandum in support of this Motion and Statement

of Undisputed Material Facts (“SMF”), there is no genuine dispute as to the material facts that

render the Transocean and Anadarko Defendants liable under the Oil Pollution Act (“OPA”),

Section 1002(a), 33 U.S.C. § 2702(a), and further, that the Anadarko Defendants are not entitled

to limited liability under OPA Section 1004, 33 U.S.C. § 2704. There is also no genuine dispute

as to the material facts that render BP, the Transocean Defendants, and the Anadarko Defendants

liable under the Clean Water Act, 33 U.S.C. § 1321(b)(7). Therefore, for the reasons stated

herein and in the accompanying statement of undisputed material facts and memorandum in

support, the United States’ motion for partial summary judgment should be granted.
   Case 2:10-md-02179-CJB-DPC Document 4820-2 Filed 12/06/11 Page 2 of 3




       A proposed order and entry of judgment accompanies this request.


Respectfully Submitted:


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   Case 2:10-md-02179-CJB-DPC Document 4820-2 Filed 12/06/11 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the above and foregoing Plaintiff United States’ Second

Motion for Partial Summary Judgment, Statement of Undisputed Material Facts, Memorandum

of Law in Support of the United States’ Motion, and Exhibits thereto has been served on all

counsel by electronically uploading the same to Lexis-Nexis File & Serve in accordance with

Pretrial Order #12, and the foregoing was also electronically filed with the Clerk of the Court of

the United States District Court for the Eastern District of Louisiana by using the CM/ECF

System, which will send a notice of electronic filing in accordance with the procedures

established in MDL 2719, on this 6th day of December, 2011.




                                        /s/ Steven O’Rourke
                                        Steven O’Rourke




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